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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                       Case No.: 21-cr-173 (ADM/DTS)

      Plaintiff,                                PROTECTIVE ORDER

v.

Anton Joseph Lazzaro (1),

      Defendant.


      On September 10, 2021 the United States moved, pursuant to Rule 16(d)(1) of the

Federal Rules of Criminal Procedure and 18 U.S.C. § 3509(d)(3) for an order restricting the

dissemination of certain Rule 16 discovery material. (Dkt. No. 45). On October 4, 2021, the

Court granted the Government’s Motion for Protective Order and ordered that “Protected

Material,” as defined in the Protective Order, must “be held in strict confidentiality and used

only in connection with the defense of the charges in this case, and for no other purpose.”

(Dkt. No. 63). Paragraph 3 of the Protective Order stated that “Protected Material” could not

be “copied, disseminated, or disclosed to any party who is not directly in the defense of the

charges against the defendant in the case, nor may the information contained in the

documents and records be disclosed to any other party who is not directly involved in the

defense of the charges against the defendant in the case.” Id.

      On August 26, 2023 prior counsel for Mr. Anton Lazzaro contacted the Court and

requested that the Protective Order be amended to allow prior counsel to provide a copy of

the discovery materials obtained during the course of their representation to the Michigan

Attorney Grievance Commission.
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      Having received no opposition from the Government, and finding that the privacy

interests of the victims, minors, and witnesses will be adequately protected, IT IS HEREBY

ORDERED that the prior counsel for Anton Lazzaro, Attorney Gary Springstead, may provide

a copy of the discovery to the Michigan Attorney Grievance Commission for the limited

purpose of responding to a grievance filed by the defendant is warranted. Attorney Gary

Springstead shall provide a copy of the Protective Order, Dkt, No. 45, and this Order to the

Michigan Attorney Grievance Commission. The Michigan Attorney Grievance Commission

and its staff must abide by the terms of the protective order as set forth in Docket Number 45.


Dated: September 7, 2023                        _____s/David T. Schultz_____
                                                DAVID T. SCHULTZ
                                                U.S. Magistrate Judge
